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             EXHIBIT 2
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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE GEISINGER SYSTEM
   SERVICES AND EVANGELICAL                       No.: 4:21–cv–196
   COMMUNITY HOSPITAL
   HEALTHCARE WORKERS                             Chief Judge Brann
   ANTITRUST LITIGATION


       PLAINTIFFS’ AMENDED RESPONSES AND OBJECTIONS TO
         DEFENDANTS’ SECOND SET OF INTERROGATORIES

      Pursuant to Federal Rules of Civil Procedure 26 and 33, Plaintiffs Nichole

Leib and Kevin Brokenshire (“Plaintiffs”), by and through their undersigned

counsel, hereby submit these amended responses and objections to Defendants’

Second Set of Interrogatories (the “Interrogatory”). All responses contained herein

are based only upon such information and documents presently available and

specifically known to Plaintiffs. Further independent discovery, independent

investigation, legal research, and analysis may supply additional facts and/or add

meaning to the known facts. The objections hereinafter set forth below are given

without prejudice to Plaintiffs’ right at trial to produce evidence of any

subsequently discovered fact or facts that may later develop.

                            GENERAL OBJECTIONS

      Plaintiffs generally object to the Interrogatory on the following grounds,

each of which is incorporated by reference in the response below.

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      1.     Plaintiffs object to the Interrogatory to the extent it seeks information

protected by attorney client privilege, attorney work product doctrine, or other

privileges or immunities. Plaintiffs will not produce any such information. In

responding to this Interrogatory, Plaintiffs do not waive any privilege or

protection; any disclosure or production of privileged or protected information or

documents is inadvertent and will not waive any privileges or protections.

      2.     Plaintiffs object to the Interrogatory to the extent it seeks information

that is outside of Plaintiffs’ possession, custody, or control, or that is not known or

reasonably available to Plaintiffs, and to the extent that it purports to impose upon

Plaintiffs a duty to seek and provide information not available to them.

      3.     Plaintiffs object to the Interrogatory to the extent it purports to require

Plaintiffs to disclose information concerning any consultant, vendor, or other

person or entity retained by Plaintiffs’ counsel on the grounds that such disclosure

violates the attorney work product doctrine and is not required by the Federal

Rules of Civil Procedure.

      4.     Plaintiffs object to the Interrogatory to the extent it requires Plaintiffs

to disclose information that is neither relevant to the claims or defenses of any

party nor proportional to the needs of the case.

      5.     Plaintiffs object to the Interrogatory to the extent it calls for or

requires Plaintiffs to respond on behalf of absent class members, including former


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proposed class representatives, on the grounds that such discovery is not required

by the Federal Rules of Civil Procedure and the applicable Local Rules.

      6.     Plaintiffs object to each of the instructions to the extent that they call

for or require Plaintiffs to do some act that is not required by the Federal Rules of

Civil Procedure and the applicable Local Rules.

            OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

      1.     Plaintiffs object to the definition of the term “Plaintiffs” to the extent

the definition encompasses persons or entities other than the Plaintiffs.

      2.     Plaintiffs object to Instruction No. 5 to the extent it calls for Plaintiffs

to provide information not within their possession, custody, and control, or that

would be beyond the scope of information discoverable under Fed. R. Civ. P. 33.

      3.     Plaintiffs object to Instruction No. 7 as unduly burdensome and not

proportional to the needs of the case to the extent it calls for Plaintiffs to provide

information pre-dating the Class Period and information not relevant to any claims

or defenses asserted in this litigation.

                   SPECIFIC OBJECTIONS AND RESPONSES

      INTERROGATORY NO. 11: Identify and describe in detail how Plaintiffs

have ensured that potentially responsive documents were preserved and collected

in this action from each Plaintiff, including:




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   i.   all instructions provided to each custodian and non-custodial data

        manager to preserve potentially responsive documents under their

        control, and the dates of any such instructions;

  ii.   all additional steps taken to preserve in place or via collection

        potentially responsive documents, for each custodian and non-

        custodial source;

 iii.   all Repositories and other sources of potentially responsive documents

        where Plaintiffs preserved, searched and/or collected documents for

        review and production in this matter, for each custodian and non-

        custodial source;

 iv.    all instructions to each custodian, non-custodial data managers, and

        collections agents regarding the method and process to search for

        documents, including search terms, parameters, date and file

        restrictions, and processes;

  v.    the manner and method of the collection, including how data integrity

        and metadata were preserved;

 vi.    each person and/or entity that performed each search and collection,

        identifying the data source searched and collected for each; and




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      vii.   the steps taken by counsel for Plaintiffs to oversee preservation,

             search and collection in this case to ensure it was appropriately

             performed, including all quality control steps.

      RESPONSE TO INTERROGATORY NO. 11: Plaintiffs incorporate the

General Objections and the Objections to Definitions and Instructions as if fully set

forth below. Plaintiffs object to this Interrogatory as overly broad, unduly

burdensome, and not proportional to the needs of the case. Plaintiffs object to this

Interrogatory to the extent it seeks information protected by attorney-client

privilege, attorney work product doctrine, and any other applicable privilege.

Plaintiffs object to this Interrogatory to the extent it seeks information from third-

parties, including any consultant or vendor. Plaintiffs further object to this

Interrogatory as vague and ambiguous because the phrases “data manager,”

“collections agents,” “parameters,” and “processes” are undefined and unclear.

Subject to and without waiving the foregoing objections, Plaintiffs respond as

follows.

      Prior to filing the original Complaint in February 2021, Plaintiffs’ counsel

described to each Plaintiff the nature of his or her obligation to preserve and collect

potentially relevant documents, including physical and electronically-stored

information (“ESI”). In January 2022, Plaintiffs’ counsel again spoke with

Plaintiffs regarding expected discovery in this case. In June and July 2022,


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Plaintiffs’ counsel discussed Defendants’ First Set of Requests for Production of

Documents (“RFPs”) with each Plaintiff. Plaintiffs timely served their Objections

and Responses to Defendants’ RFPs on June 27, 2022. Plaintiffs’ counsel then

negotiated with Defendants regarding the scope of Defendants’ RFPs throughout

July and August 2022.

      Throughout and following the parties’ negotiations on scope, Plaintiffs’

counsel communicated with Plaintiffs regarding each RFP to determine what

potentially responsive documents exist, if any, and how such documents might be

identified, collected, and produced. Plaintiffs’ counsel discussed potential sources

of responsive documents with each Plaintiff and instructed each Plaintiff to pull his

or her records for any document responsive to Defendants’ RFPs, without any

limitation for file date or location.

      In August 2022, Mr. Brokenshire informed Plaintiffs’ counsel that he only

had physical copies of potentially responsive documents. Mr. Brokenshire sent

Plaintiffs’ counsel photographs of the physical documents. In September 2022, Ms.

Leib identified potentially responsive emails in her possession in connection with

her Verizon email account and forwarded these emails to Plaintiffs’ counsel. These

documents from Plaintiffs Brokenshire and Leib were produced to Defendants by

October 2022.




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      After negotiations with Geisinger’s counsel relating to the metadata for Ms.

Leib’s previously produced emails, in April 2023, Plaintiffs’ counsel

communicated with Ms. Leib to discuss conducting a forensic collection of her

Verizon email account. Plaintiffs’ counsel engaged a third-party data vendor,

Ricoh USA, Inc., to conduct this collection. Plaintiffs’ counsel reviewed the

resulting collection and produced responsive emails in native custodial format by

June 2023.

      Following the July 21, 2023 status conference, Plaintiffs’ counsel again

requested each Plaintiff to identify whether and where additional discoverable

documents might exist. Plaintiffs identified certain possible sources of potentially

responsive documents and Plaintiffs’ counsel engaged a third party, Downstreem,

LLC, to conduct forensic collections of these sources in August 2023. Plaintiffs’

counsel reiterated instructions to Plaintiffs regarding preservation of all potentially

relevant electronic and physical documents.

      Downstreem, LLC conducted a forensic collection of the following sources

of documents for Plaintiff Brokenshire:

          • Mr. Brokenshire’s personal cell phone, which included collecting text

             message files, contacts, and photographs; and

          • The AOL email account belonging to Mr. Brokenshire’s wife.




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Additionally, Mr. Brokenshire investigated whether he could access his Hotmail

email account, including by attempting to reset his login credentials. To his

knowledge, Mr. Brokenshire’s Hotmail account is no longer accessible and was

subject to a Microsoft retention policy whereby his account was deactivated due to

inactivity. Mr. Brokenshire is not in possession, custody, or control of any prior

cell phones, and this has been true since before his involvement in this litigation.

Mr. Brokenshire is not aware of any other sources of ESI in his possession,

custody, or control that might contain responsive documents.

      Downstreem, LLC has completed or is in the process of conducting a

forensic collection of the following sources of documents for Plaintiff Leib:

          • Ms. Leib’s personal cell phone, which included collecting text

             message files, contacts, and photographs;

          • Ms. Leib’s personal laptop;

          • Ms. Leib’s personal iPad;

          • Ms. Leib’s Verizon email account; and

          • Any communications to and from Ms. Leib’s LinkedIn, Indeed, and

             Facebook accounts.

Additionally, Ms. Leib investigated whether she could access her Wildblue email

account, including by attempting to reset her login credentials. To her knowledge,

Ms. Leib’s Wildblue account is no longer accessible. Ms. Leib continues to

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investigate whether any potentially responsive documents exist and are accessible

from other websites, including UHC.com and Davita.com. Ms. Leib is not aware of

any other sources of ESI in her possession, custody, or control which might contain

responsive documents.

      Plaintiffs did not employ any preliminary filters for date range or content

during the collection of these sources. Plaintiffs intend to use search terms to

identify documents from these sources that Plaintiffs’ counsel will review for

responsiveness and privilege. Plaintiffs will then produce any non-privileged

documents responsive to Defendants’ RFPs. Plaintiffs are formulating a list of

search terms and will share these with Defendants shortly. Plaintiffs invite

Defendants to make counterproposals on the search terms if they wish.

      The forensic collection process employed by Plaintiffs’ counsel ensures data

integrity and preservation of metadata. The third-party data vendors directly

accessed the sources of ESI and collected unfiltered and unaltered data. The third-

party data vendors used software, workflows, and tools accepted in the industry.

This approach guarantees data integrity and preservation of metadata, in

accordance with industry standards for gathering and producing ESI for litigation.

      Plaintiffs’ counsel provided instructions and guidance to Plaintiffs in their

initial search and collection for potentially relevant documents, discussing possible

sources and collection methods, to ensure that this was properly performed.


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Plaintiffs’ counsel also directly engaged and then oversaw the forensic collection

of Plaintiffs’ documents by the third-party vendors, to ensure it was appropriately

performed.




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Dated: August 21, 2023

/s/ J. Taylor Hollinger
Eric L. Cramer (PA Bar No. 69289)           Adam J. Zapala (Pro Hac Vice)
(Pro Hac Vice)                              Elizabeth T. Castillo (Pro Hac Vice)
Shanon Jude Carson (PA Bar No.              James G. Dallal (Pro Hac Vice)
85957)                                      COTCHETT, PITRE &
Candice J. Enders (PA Bar No.               McCARTHY, LLP
92107) (Pro Hac Vice)                       840 Malcolm Road
Michael J. Kane (PA Bar No. 73998)          Burlingame, CA 94010
(Pro Hac Vice)                              Phone: (650) 697-6000
Michaela L. Wallin (Pro Hac Vice)           Fax: (650) 697-0577
J. Taylor Hollinger (PA Bar No.             azapala@cpmlegal.com
332706) (Pro Hac Vice)                      ecastillo@cpmlegal.com
BERGER MONTAGUE PC                          jdallal@cpmlegal.com
1818 Market Street, Suite 3600
Philadelphia, PA 19103                      Alexander E. Barnett (Pro Hac Vice)
Phone: (215) 875-4604                       COTCHETT, PITRE &
Fax: (215) 875-5707                         McCARTHY, LLP
ecramer@bm.net                              40 Worth Street, 10th Floor
scarson@bm.net                              New York, NY 10013
cenders@bm.net                              Phone: (212) 201-6820
mkane@bm.net                                abarnett@cpmlegal.com
mwallin@bm.net
thollinger@bm.net

Daniel J. Walker (Pro Hac Vice)
BERGER MONTAGUE PC
2001 Pennsylvania Avenue NW,
Suite 300
Washington, DC 20006
Phone: (202) 559-9745
dwalker@bm.net

Interim Co-Lead Counsel for Plaintiffs and the Proposed Class




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                      CERTIFICATION OF SERVICE

      I, Taylor Hollinger, hereby certify that on this 21st day of August 2023, I

served to Defendants a copy of the foregoing Plaintiffs’ Amended Objections and

Responses to Defendants’ Second Set of Interrogatories via electronic mail upon

the following Counsel:

 Chahira Solh                            John C. Fuller
 CROWELL & MORING LLP                    Stephanie Resnick
 3 Park Plaza, Ste. 20th Floor           Theodore H. Jobes
 Irvine, CA 92614-8505                   Shannon M. Doughty
 Tel: (949) 798-1367                     FOX ROTHSCHILD LLP
 csolh@crowell.com                       2000 Market Street, 20th Floor
                                         Philadelphia, PA 19103
 Stefan M. Meisner                       Tel: 215-299-3815
 CROWELL & MORING LLP                    Fax: 215-299-2150
 1001 Pennsylvania Avenue NW             jfuller@foxrothschild.com
 Washington, DC 20004                    sresnick@foxrothschild.com
 Tel: (202) 624-2500                     tjobes@foxrothschild.com
 smeisner@crowell.com                    sdoughty@foxrothschild.com

 Rosa M. Morales                         Norman Armstrong, Jr.
 CROWELL & MORING LLP                    KING & SPALDING LLP
 590 Madison Avenue, 20th Floor          1700 Pennsylvania Avenue
 New York, NY 10022                      Washington, DC 20006
 Tel: (212) 895-4261                     Tel: 202-626-8979
 rmorales@crowell.com                    narmstrong@kslaw.com

 Daniel T. Brier                         Attorneys for Defendant Evangelical
 Donna A. Walsh                          Community Hospital
 Richard L. Armezzani
 MYERS, BRIER & KELLY LLP
 425 Spruce Street, Suite 200
 Scranton, PA 18503
 Tel: (570) 342-6100
 dbrier@mbklaw.com
 dwalsh@mbklaw.com
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rarmezzani@mbklaw.com

Attorneys for Defendant Geisinger
System Services



                                    /s/ J. Taylor Hollinger
                                    J. Taylor Hollinger




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